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                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

STATE OF TEXAS, ET. AL.,

           Plaintiffs,

v.
                                                Case No.: 4:20−cv−02021
RISING EAGLE CAPITAL GROUP LLC,
et. al., and DOES 6-100.,

           Defendants.
                                        /




       DEFENDANTS MICHAEL T. SMITH, JR., AND HEALTH ADVISORS OF
     AMERICA, INC.’S NOTICE OF JOINING CO-DEFENDANTRISING EAGLE’S
      MOTION TO DISMISS AND MOTION TO DISMISS PLAINTIFF’S SECOND
                          AMENDED COMPLAINT
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        Defendants Michael T. Smith, Jr. (“Smith”) , and Health Advisors Of America, Inc.

(“HAA”) by and through its undersigned legal counsel, and pursuant to the applicable

Federal Rules of Civil Procedure, US District Court for the Southern District Court of

Texas Local Rules, and this Court Procedures, Jr. hereby gives its Notice of Joining in the

Arguments raised in co-Defendant Rising Eagle’s Fed. R. Civ P.12(b)(1) Motion to

Dismiss Plaintiffs’ Second Amended Complaint and additionally seeks dismissal of

Plaintiff’s Second Amended Complaint on Fed. R. Civ P. 12(b)(6) grounds as well.

   I.      STATEMENT OF NATURE AND STAGE OF PROCEEDINGS

        On or about October 30, 2020 Plaintiffs filed their Second Amended Complaint

(ECF No. 56), alleging multiple violations of the Telephone Consumer Protection Act, 47

USC §§ 227 et. seq. (“TCPA”) by the Defendants. (ECF No. 56, Second Am. Compl. ¶¶ 28

-29, 170-174). On or about January 7, 2021, Defendants Rising Eagle Capital Group, LLC

(“Rising Eagle”), JSquared Telecom, LLC, John C. Spiller (“Spiller”) and Jakob Mears

(“Mears”) (collectively, “Rising Eagle Defendants”) filed their Motion to Dismiss Counts

II and III of the Second Amended Complaint (ECF Nos. 80, 81) pursuant to Fed. R. Civ.

P. 12(b)(1), maintaining that the allegations against them for violation of the TCPA were

unenforceable as the TCPA was rendered unconstitutional and in violation of the First

Amendment to the U.S. Constitution at the times the violations alleged in Plaintiff’s Second

Amended Complaint were made. On or about January 13, 2021, Defendants Smith and

HAA sought leave of Court (ECF No.: 85), in compliance with and pursuant to Court

Procedure 6(B) to Join in Co-Defendant Rising Eagle’s Motion to Dismiss arguments and

dismissal of Plaintiffs’ lawsuit and to bring forth additional grounds of dismissal pursuant

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to Rule 12(b)(6). On January 19, 2021, this Court entered an Order (ECF No.: 86), granting

Defendants Smith and HAA leave to file the instant motion to dismiss.

   II.        STATEMENT OF THE ISSUES

  A. Issues

         1.     Whether the Court should dismiss Count VIII of Plaintiffs’ Second Amended

Complaint pursuant to Fed. R. Civ. P. 12(b)(1) for all alleged calls made in violation of 47

U.S.C. § 227(b)(1)(A)(iii) that occurred prior to the Supreme Court’s ruling in Barr v.

American Association of Political Consultants on July 6, 2020 because the Telephone

Consumer Protection Act’s automated-calling prohibition, upon which these counts are

based, was unconstitutional and therefore unenforceable at the time of the alleged

violations.

         2.     Whether the Court should dismiss Count VII of Plaintiffs’ Second Amended

Complaint pursuant to Fed. R. Civ. P. 12(b)(1) for all alleged calls made in violation of 47

U.S.C. § 227(b)(1)(B) in its entirety because the impermissible government-debt

exemption severed from 47 U.S.C. § 227(b)(1)(A)(iii) by the Supreme Court in Barr v.

American Association of Political Consultants currently remains in § 227(b)(1)(B) and this

subsection is therefore unenforceable.

         3.     Whether the Court should dismiss Plaintiff’s Second Amended Complaint

pursuant to Fed. R. Civ. P. R.12(b)(6)for impermissibly lumping Defendants Smith and

HAA with co-Defendant Scott Shapiro as the “Health Advisor Defendants” for Counts VI

and VII, VIII, and IX, and X and then for the Violations of State Telemarketing Laws,



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Counts XVII - XXI, and XXII, XXVI, XXVII - XXXIII lumps all “Defendants”, without

making distinction between “Defendants” in violation of Fed. R. Civ P. 8.

  B. Standard of Review

         i.   Review Under 12(b)(1)

       Dismissal is proper under Federal Rule of Civil Procedure 12(b)(1) because the

Court lacks subject matter jurisdiction. The burden of proof for a Rule 12(b)(1) motion to

dismiss is on the party asserting jurisdiction. McDaniel v. United States, 899 F.Supp. 305,

307 (E.D.Tex.1995). Accordingly, the plaintiff constantly bears the burden of proof that

jurisdiction does in fact exist. Menchaca v. Chrysler Credit Corp., 613 F.2d 507, 511 (5th

Cir.1980).

       The Supreme Court has long held that “if the laws are unconstitutional and void, the

[federal court has] no jurisdiction of the causes.” Ex parte Siebold, 100 U.S. 371, 377

(1880); see also Montgomery v. Louisiana, 136 S. Ct. 718, 724 (2016) (sentence under

unconstitutional law is void because state was deprived of authority to impose it); United

States. v. Baucum, 80 F.3d 539, 540-41 (D.C. Cir. 1996) (“It is true that once a statute has

been declared unconstitutional, the federal courts thereafter have no jurisdiction over

alleged violations (since there is no valid ‘law of the United States’ to enforce)[.]”); see

also, Reynoldsville Casket Co. v. Hyde, 514 U.S. 749, 760, (1995) (Scalia, J., concurring)

(“[W]hat a court does with regard to an unconstitutional law is simply to ignore it. It

decides the case ‘disregarding the [unconstitutional] law,’ because a law repugnant to the

Constitution ‘is void, and is as no law.’” (second alteration in original) (citation omitted).).



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       As relevant here, a speaker should not be punished for engaging in speech that was

restricted in an unconstitutional fashion at the time of the speech. See Grayned v. City of

Rockford, 408 U.S. 104, 107 n.2, (1972) (holding, also with regard to an invalid time-place-

manner restriction, that determining the speaker’s fate required assessing “the facial

constitutionality of the [restriction] in effect” at the time of the speech at issue). It also

supports the general rule that “once a statute has been declared unconstitutional, the federal

courts thereafter have no jurisdiction over alleged violations (since there is no valid ‘law

of the United States’ to enforce).” United States v. Baucum, 80 F.3d 539, 541-42, 317 U.S.

App. D.C. 63 (D.C. Cir. 1996) (per curiam).

        ii.   Review Under 12(b)(6)

       FED. R. CIV. P. 12(b)(6) permits a defendant to seek dismissal of a claim if it fails

to “state a claim upon which relief can be granted.” A cause of action can fail to state a

“claim upon which relief can be granted” if, inter alia, it fails to comply with the

requirements of Rule 8(a)(2). See, e.g., Buerger v. Southwestern Bell Tel. Co., 982 F. Supp.

1247, 1249-50 (E.D. Tex. 1997); Bank of Abbeville & Trust Co. v. Commonwealth Land

Title Ins. Co., 201 F. App’x 988, *2 (5th Cir. Oct. 9, 2006) (“a Rule 12(b)(6) motion to

dismiss for failure to state a claim may be a proper vehicle to challenge the sufficiency of

a pleading under Rule 8”).

       “To survive a Rule 12(b)(6) motion to dismiss, a complaint ‘does not need detailed

factual allegations,’ but must provide the plaintiff's grounds for entitlement to relief—

including factual allegations that when assumed to be true ‘raise a right to relief above the

speculative level.’ “ Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir.2007) (quoting Bell Atl.

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Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)). That is,

consistent with Rule 8(a), a complaint must “contain sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its face.’ “ Ashcroft v. Iqbal, 556 U.S.

662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (quoting Twombly, 550 U.S. at 570). A

claim has facial plausibility “when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556). The plausibility

standard “is not akin to a ‘probability requirement,’ “ though it does require more than

simply a “sheer possibility” that a defendant has acted unlawfully. Id. at 678. Thus, a

pleading need not contain detailed factual allegations, but must set forth more than “labels

and conclusions, and a formulaic recitation of the elements of a cause of action will not

do.” Twombly, 550 U.S. at 555(citation omitted).

   III.   SUMMARY OF ARGUMENT

       Defendants Smith and HAA join the Rising Eagle Defendants and respectfully

request that this Court dismiss Plaintiff’s Second Amended Complaint pursuant to Federal

Rule of Civil Procedure 12(b)(1) because the base of Plaintiff’s lawsuit is the Telephone

Consumer Protection Act (“TCPA”), which is unenforceable against Defendants in this

action because the TCPA was unconstitutional and in violation of the First Amendment at

the time the alleged calls were made.

       In Barr v. American Association of Political Consultants, Inc., 140 S. Ct. 2335, 2346

(2020) (“Barr”), the United States Supreme Court held that the TCPA (as written) was an

unconstitutional, content-based suppression on speech . As a remedy, the Supreme Court

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severed the government-backed debt exception on a going-forward basis. Accordingly, at

the time the alleged calls were placed, the TCPA was an unconstitutional, content-based

restriction on speech. Plaintiff’s Second Amended Complaint must therefore be dismissed

with prejudice as it was filed under a federal statute that violated the First Amendment at

the time of the alleged calls at issue. See Creasy v. Charter Communications, Inc., CV 20-

1199, 2020 WL 5761117, at *1 (E.D. La. Sept. 28, 2020) (“Creasy”); Lindenbaum v.

Realgy, LLC, 1:19 CV 2862, 2020 WL 6361915, at *1 (N.D. Ohio Oct. 29, 2020)

(“Lindenbaum”).

         In addition to Joining in Defendant Rising Eagle’s 12(b)(1) Motion to Dismiss,

Defendants Smith and HAA would also bring forth 12(b)(6) arguments as well. Plaintiffs’

Second Amended Complaint impermissibly lumps Defendants Smith and HAA with co-

Defendant Scott Shapiro as the “Health Advisor Defendants” for Counts VI and VII, VIII,

and IX, and X and then for the Violations of State Telemarketing Laws, Counts XVII -

XXI, and XXII, XXVI, XXVII - XXXIII lumps all “Defendants”, without making

distinction between “Defendants” in violation of Rule 8, FRCP.

   IV.      ARGUMENT

            1. Defendants Smith and HAA are similarly situated as it relates to
               Plaintiff’s TCPA claims against the Rising Eagle Defendants and Join in
               their Arguments in support of their Motion to Dismiss

         Plaintiffs’ Second Amended Complaint alleges violations of the TCPA committed

by the Rising Eagle Defendants and Defendant Smith and HAA for calls made regarding

health care coverage. (ECF No. 56, Second Am. Compl. ¶¶ 28 -29). Plaintiffs allege that some

of the alleged violative calls the Rising Eagle Defendants placed were made on behalf of

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Defendant Smith and HAA. (ECF No. 56, Second Am. Compl. ¶¶ 155 -167). In fact, every

allegation of wrongdoing alleged by Plaintiff against Defendants Smith and HAA are tied to

actions of the Rising Eagle Defendants.

        While Plaintiffs’ Second Amended Complaint does not specifically state the timeframe(s)

of the alleged offending calls were made, or specifically attribute which Defendants initiated the

alleged offending calls, or specifically on whose behalf the calls were made, it does state that

“From at least June of 2018 through January 30, 2019, Defendants Spiller and Mears conducted

their robocall business primarily through Defendant Rising Eagle. (ECF No. 56, Second Am.

Compl. ¶ 72). Plaintiff further alleges that “[b]etween June 1, 2019, and the filing of this lawsuit,

Defendants Spiller and Mears had dozens if not hundreds of communications with the Traceback

Group regarding illegal robocalls placed by Rising Eagle Defendants. (ECF No. 56, Second Am.

Compl. ¶ 88). The Court’s docket reflects that the instant lawsuit was filed by Plaintiffs on June

9, 2020.

        Similarly, Plaintiffs’ allegations against the “Health Advisors Defendants”, in which

Plaintiffs lump Defendant HAA and Smith with co-Defendant Shapiro, is predicated upon the

Health Advisors Defendants purportedly contracting with the Rising Eagle Defendants

“[s]ometime in 2018 through December of 2019” (ECF No. 56, Second Am. Compl. ¶ 161).

Plaintiffs’ Second Amended Complaint does not allege the Rising Eagle Defendants to have

continued to provide services, be contracted with/by or paid by the Health Advisor Defendants in

2020.

        The position taken by co-Defendants in the subject Motion to Dismiss (ECF Nos. 80,81)

is that the TCPA only became constitutional after July 6, 2020 when the United States Supreme

Court rendered its decision in Barr v American Association of Political Consultants, Inc., 140 S.


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Ct. 2335, 2346 (July 6, 2020), severing unconstitutional, content-based restriction on speech, in

violation of the First Amendment. See also, Creasy v Charter Communications, Inc., CV 20-1199,

2020 WL 5761117, at *8 (E.D. La Sept 28, 2020)(“the defendant’s motion to dismiss is [granted]

with respect to all asserted TCPA violations alleged to have occurred before July 6, 2020) and

Lindenbaum v Realgy, LLC, 1:19 CV 2862, 2020 WL 6361915, at *7 (“Because the statue at issue

was unconstitutional at the time of the alleged violations, this Court lacks jurisdiction over this

matter.”)

       As the Creasy and the Lindenbaum courts held, the TCPA was unconstitutional at a

minimum between the time of the enactment of the government-backed debt exemption in 2015

and when the Supreme Court severed it from the remainder of the statute on July 6, 2020. Creasy,

CV 20-1199, 2020 WL 5761117, at *3; Lindenbaum, 1:19 CV 2862, 2020 WL 6361915, at *7.

The reasoning behind this is simple. A majority of the Supreme Court (six (6) justices) held that

the TCPA as a whole was unconstitutional as written. Creasy, CV 20-1199, 2020 WL 5761117, at

*4. The statute only was declared constitutional after the Supreme Court severed the government-

backed debt exemption on July 6, 2020. Id. at *6. Thus, all calls placed between 2015 and July 6,

2020—which includes all of the calls alleged in Plaintiffs’ Second Amended Complaint as having

been made on behalf of the Health Advisor Defendants—were placed at a time where the TCPA

was unconstitutional. Id. at *8.

       Should the Defendant’s Motion to Dismiss (ECF Nos. 80, 81) be Granted, not only would

Counts II and III of the Plaintiff’s Second Amended Complaint not contain a viable cause of action

against the Rising Eagle Defendants, but the Counts VII and VIII would not have a viable cause

of action against Defendant HAA and Smith as well.




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       Accordingly, and as the arguments raised by co-Defendant Rising Eagle as it relates to

Barr, Creasy, and Lindenbaum are actually transferrable from Rising Eagle’s case to Defendant

HAA and Smith’s case, the Defendants hereby joins, adopts and incorporates by reference all

grounds, authority, and arguments raised by Co-Defendants Rising Eagle in their Motion to

Dismiss (ECF Nos. 80, 81) as if more fully set forth herein.

          2. Plaintiff’s Second Amended Complaint should be dismissed for failing
             to comply with Rule 8.

       “A complaint does not satisfy the requirements of Iqbal and Twombly by lumping

together all defendants, while providing no factual basis to distinguish their conduct.” Del

Castillo v. PMI Holdings N. Am. Inc., No. 4:14-CV-3435, 2015 WL 3833447, at *6 (S.D.

Tex. June 22, 2015). As to each defendant sued in his or her individual capacity, Plaintiff

must allege how that defendant was personally involved in or had direct responsibility for

the incidents that caused Plaintiff's alleged injury. See id.; see also Murphy v. Kellar, 950

F.2d 290, 292 (5th Cir. 1992) (“[A] plaintiff bringing a section 1983 action must specify

the personal involvement of each defendant.”). Mendoza v. J.P. Morgan Mortgage N.A.,

7:17-CV-180, 2017 WL 2778250, at *3 (S.D. Tex. June 27, 2017) (“[a] complaint does not

satisfy the requirements of Iqbal and Twombly by lumping together all defendants, while

providing no factual basis to distinguish their conduct.”) (quoting Del Castillo, 2015 WL

3833447, at *6); Bailey v. Willis, 417CV00276ALMCAN, 2018 WL 3321461, at *12 (E.D.

Tex. Jan. 11, 2018), report and recommendation adopted, 4:17-CV-276, 2018 WL

2126476 (E.D. Tex. May 8, 2018) (“As to each defendant sued in his or her individual




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capacity, Plaintiff must allege how that defendant was personally involved in or had direct

responsibility for the incidents that caused Plaintiff's alleged injury.”).

       Plaintiffs’ Second Amended Complaint lumps multiple Defendants together for

various allegations, and yet never clarifies which Defendant did what and for whom when.

For example, while the Plaintiffs maintain that the Rising Eagle Defendants were lead

generators and generated “calls made regarding health care coverage or insurance, auto,

warranty coverage or extension, and other calls offering goods and services.” (ECF No. 56,

Second Am. Compl. ¶ 28), the allegations against Defendants HAA and Smith (and Shapiro) are

only for “calls made regarding health care coverage or insurance”. (ECF No. 56, Second Am.

Compl. ¶ 29). Despite allegations that “Defendant Spiller admitted … that he was making millions

of calls per day and was purposefully calling consumers on the do-not-call registries…”. .” (ECF

No. 56, Second Am. Compl. ¶ 89), there are no allegations of specific calls made on behalf of

Defendant HAA and/or Smith, or otherwise differentiate between calls being generated for health

care coverage versus insurance, auto, warranty coverage or extension, and other calls

offering goods and services. Plaintiffs do not even allege that the Rising Eagle Defendants were

exclusively calling on behalf of Defendants HAA, Smith or the “Health Advisors Defendants”

when calling prospective consumers for health care coverage. In fact, Plaintiff’s Second Amended

Complaint, does not have any specific allegations regarding the content or direction of any of the

calls purported to be made. The one pre-recorded message Plaintiffs reference is alleged to have

been made by Rising Eagle, but does not allege that the message was made by, at the direction of,

or was in any way made by Defendants Smith and/or HAA. (ECF No. 56, Second Am. Compl.

¶ ¶ 112, 156).


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   V.     CONCLUSION

        WHEREFORE         Defendants MICHAEL T. SMITH, JR., and                  HEALTH

ADVISORS OF AMERICA, INC. respectfully requests that this Court enter an Order

dismissing Plaintiffs’ Second Amended Complaint (ECF No. 56) pursuant to Rule 12(b)(1)

of the Federal Rules of Civil Procedure, or in the alternative, pursuant to Rule 12(b)(6) of

the Federal Rules of Civil Procedure, and for any other relief this Court deems just and

appropriate.



Date: February 3, 2021                   Respectfully submitted,



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                            CERTIFICATE OF SERVICE

       I hereby certify that on February 3, 2021, I electronically filed the foregoing with
the Clerk of Court, using CM/ECF and in addition, that the foregoing document is being
served this day on all counsel of record and all parties on the attached Service List via
transmission of Notices of Electronic Filing generated by CM/ECF or in some other
authorized manner for those counsel or parties who are not authorized to receive
electronically Notices of Electronic Filing

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                 USDC SD TX Case No.: 4:20−cv−02021


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